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EXHIBIT H
a
FREEDOM BANK

Case 3:18-cv-01617-MEM Document 1-9 Filed 08/16/18 Page 2 of 5

FDIC

99 Wast Essex Stroat, 2nd Floor
Maywood, NJ 07607

201-599-3000 *www.freedombanknj.aom
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LUXURY HAUS INC
40 ROCKWOOD PL
ENGLEWOOD NJ 07631-4938

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BEGINNING BALANCE

External Deposit WELLS FARGO DLR CONTRACT

PURCHASE PURCHASE

External Deposit WELLS FARGO DLR CONTRACT

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External Deposit WELLS FARGO DLR CONTRACT

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External Deposit WELLS FARGO DLR CONTRACT

PURCHASE PURCHASE

External Deposit AMERICREDIT FINA LOAN FUNDING
B4

External Deposit WELLS FARGO DLR CONTRACT

PURCHASE PURCHASE

External Deposit Santander Consu

External Deposit AMERICAN EXPRESS PAYMENT DATE
External Deposit GM FINANCIAL LOAN FUNDING LOAN
RTT NET CON FUNDING LOAN
External Withdrawal NJ.GOV INFO 609-586-2600 NJ

Customer Statement Pg 10f27

Account Number: HXKKKKK2 357
Statement Date: Sep 01, 2016 thru Sep 30, 2016

KEMKRKKK2 SS? $59,758,30

$719,343.48
45,960.01

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ee Customer Statement Pg 22 of 27
FREED OM BANK Account Number: YOOKNKKX23 57

Statement Date: Sep 01, 2016 thru Sap 30, 2016

Leer eaaliGh Eee ur EIR Hae tare a:
BUSSERV ID NBR: 609-586-2600

Sep 28 External Withdrawal DTRTS NJDEALER ID NBR; 1518 ~189,20
Sep 28 Wire Transfer Deposit Wire In ACAPS(Dom) 40,349.16
Sep 28 Wire Transfer Deposit Wire In ACAPS(Dom) 134,186.91
Sep.28 38265 Over Counter Check -250,000.00
Sep 28 38226 Check -6,753.27
Sep 28 38221 Check -2,276.25
Sep 28 38208 Check -1,024.60
Sep 28 35795 Check -60.00
Sep 28 38129 Check -1,000,00
Sep 28 38155 Check 34.80
Sep 28 38068 Check -6,170,85
Sep 28 38230 Check -76.80
Sep 28 38136 Check =300.00
Sep 28 38121 Check -65.97
Sep 28 38169 Check -47.00
Sep 28 38192 Check ~B,073,50
Sep 28 38001 Check -3,774.00
Sep 28 38183 Check ; -97,00
Sep 28 38182 Check ~263.22
Sep 29 External Deposit WELLS FARGO DLR CONTRACT 45,752.51
PURCHASE PURCHASE
Sep 29 Extemal Deposit AME IT FINAL FUNDING 29,091.68
LOAN FUNDI ID NBR:
Sep 29 Extemal Deposit NEXTGEAR FUNDING FUNDING ID - NBR 27,600.00
Sep 29 External Deposit WELLS FARGO DLR CONTRACT 16,664.41
PURCHASE PURCHASE
Sep 29 External Deposit NEXTGEAR FUNDING FUNDING ID - NBR: mm 5,584.93
Sep 29 External Withdrawal NJ.GOV 4INFO 609-586-2600 NJ -7,.00
BUSSERV ID NBR: 609-586-2600
Sep 29 Extemal Withdrawal DTRTS NJDEALER (D NBR: -4,195.40
Sep 29 Extemal Withdrawal NEXTGEAR PAYMENT PAYMENT ID ~3,852.86
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Sep 29 External Withdrawal NEXTGEAR PAYMENT PAYMENT ID -4,639.21
Sep 29 ass ‘indrawal NEXTGEAR PAYMENT PAYMENT ID -5,027.24
Sep 29 External Withdrawal NEXTGEAR PAYMENT PAYMENT ID ~6,958.14
Sap 29 | NEXTGEAR PAYMENT PAYMENT ID -6,074.00
Sep 29 = — Bost Wire In ACAPS(Dorm) 46,194.07
Sep 29 EffMCheck -5,00
Sep 29 38304 Over Counter Check -285,000.00
Sep 29 Deposit 2,733.00
Sep 29 Deposit 240,581.47
Sep 29 38160 Check -5,674.90
Sep 29 38172 Check -25,000.00
Sep 29 38242 Check -200.00
Sep 29 38167 Check ~304.25
Sep 29 38499 Check -141,00
Sep 29 38261 Check -5§30.00
Sep 29 38128 Check -300.00
Sep 28 37593 Check -1,493.04
Sep 29 38229 Check -9,053,14
Sep 29 37870 Check -2,638.96

Sep 29 37864 Check -20.00

Case 3:18-cv-01617-MEM Document 1-9 Filed 08/16/18 Page 4 of 5

Account Number: 201022357, Date: 09/30/2016 - Checks 1 to 240 of 508 Page 3 of 48

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Account Number: 201022357, Date: 09/30/2016 - Checks 1 to 240 of 508 Page 7 of 48

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